                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TENNESSEE

     GAIL HARNESS,                                    )
                                                      )
              Plaintiff,                              )
                                                      )
                                                            Case No. 3:18-cv-00100, 3:18-cv-00340
     v.                                               )
                                                                       Jury Demanded
                                                      )
     ANDERSON COUNTY, TENNESSEE,                      )
                                                      )
              Defendant.                              )

     PLAINTIFF’S PREPOSED JURY INSTRUCTION REGARDING COMPENSATORY
                          DAMAGES AND BACK PAY

          In addition to the special jury instructions proposed by Plaintiff [Doc. 53] already, Plaintiff

 also proposes the following instructions regarding her claims for compensatory damage and back

 pay.

                                          Compensatory Damages

          If you find in favor of Plaintiff on one or more of Plaintiff’s claims, then you must

 determine the amount of money that will fairly compensate Plaintiff for any injury that you find

 she sustained and is reasonably certain to sustain in the future as a direct result of the acts or

 omissions upon which you base your finding of liability.1

          Your award must be based on evidence and not speculation or guesswork. This does not

 mean, however, that compensatory damages are restricted to the actual loss of money; they

 include both the physical and mental aspects of injury, even if they are not easy to measure. 2 In

 calculating compensatory damages, you should not consider the issue of lost wages and benefits.




 1
  See 7th Circuit Pattern Civil Jury Instruction, No. 7.26; Tenn. Pattern Jury Instructions (Civil),
 No. 14.01.
 2
     See 7th Circuit Pattern Civil Jury Instruction, No. 7.26.
                                                       1

Case 3:19-cv-00340-CLC-JEM Document 48 Filed 06/16/21 Page 1 of 5 PageID #: 146
 The court will calculate and determine any damages for past or future lost wages and benefits. 3

 You should consider the following types of compensatory damages:

       1. Mental and emotional pain and suffering. Mental and emotional pain and suffering that

           Plaintiff has experienced and is reasonably certain to experience in the future. No

           evidence of the dollar value of mental and emotional pain and suffering has been or needs

           to be introduced. There is no exact standard for setting the damages to be awarded on

           account of these factors. You are to determine an amount that will fairly compensate the

           Plaintiff for the injury she has sustained.

       2. Embarrassment and humiliation. You shall award a sum of money to compensate

           plaintiff for any embarrassment and humiliation the plaintiff actually suffered as a result

           of the Defendant’s alleged unlawful practice(s). The words “embarrassment” and

           “humiliation” are used in their everyday meaning. Not every embarrassment and

           humiliation, however, is compensable. Embarrassment and humiliation are compensable

           only when a reasonable person with ordinary sensibilities under the same or similar

           circumstances would be embarrassed or humiliated. 4

       3. Loss of enjoyment of life: Loss of the enjoyment of life takes into account the loss of the

           normal enjoyments and pleasures in life in the future as well as limitations on the

           person’s lifestyle resulting from the injury. 5

       4. Harm to reputation and loss of standing in the community. Harm to reputation and loss

           of standing in the community takes into account the detrimental effects Defendant’s



 3
     See 7th Circuit Pattern Civil Jury Instruction, No. 3.10.
 4
     See Tenn. Pattern Jury Instructions (Civil), No. 11.75.
 5
     See Tenn. Pattern Jury Instructions (Civil), No. 11.75.
                                                         2

Case 3:19-cv-00340-CLC-JEM Document 48 Filed 06/16/21 Page 2 of 5 PageID #: 147
           conduct has had on Plaintiff’s reputation and standing in the community. 6

       5. Permanent Injury. A permanent injury is an injury that the plaintiff must live with for the

           rest of the plaintiff’s life that may result in inconvenience or the loss of physical or

           mental vigor. Damages for permanent injury may be awarded whether or not it causes

           any pain or inconvenience. In making an award for such damages, you must use your

           best judgment and establish an amount of damages that is fair and reasonable in light of

           the evidence before you. 7


                                                 Back Pay

        If you find that Plaintiff has proven her claim of retaliation by a preponderance of the

 evidence, you may award her as damages any lost wages and benefits she would have received

 from the Defendant if she had not been terminated. It is Plaintiff’s burden to prove that she lost

 wages and benefits and their amount. If she fails to do so for any periods of time for which she

 seeks damages, then you may not award damages for that time period. 8




 6
   See Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299, 307 (1986) (“[C]ompensatory
 damages may include not only out-of-pocket loss and other monetary harms, but also such
 injuries as “impairment of reputation ..., personal humiliation, and mental anguish and
 suffering.”) (internal citation omitted).
 7
     See Tenn. Pattern Jury Instructions (Civil), No. 11.75 (modified).
 8
     See 7th Circuit Pattern Civil Jury Instruction, No. 3.11.
                                                      3

Case 3:19-cv-00340-CLC-JEM Document 48 Filed 06/16/21 Page 3 of 5 PageID #: 148
                                     Respectfully submitted,

                                     /s/Richard E. Collins
                                     _____________________________
                                     Richard E. Collins (TN Bar No. 024368)
                                     STANLEY, KURTZ & COLLINS, PLLC
                                     422 S. Gay Street, Suite 301
                                     Knoxville, TN 37902
                                     (865) 522-9942
                                     (865) 522-9945 fax
                                     richard@knoxvilleattorney.com




                                       4

Case 3:19-cv-00340-CLC-JEM Document 48 Filed 06/16/21 Page 4 of 5 PageID #: 149
                                  CERTIFICATE OF SERVICE
      I hereby certify that I have this 16th day of June, 2021, filed a true and correct copy of the
 foregoing electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. All other parties will be
 served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
 system.


                                               /s/Richard E. Collins
                                               _______________________
                                               Richard Everett Collins




                                                  5

Case 3:19-cv-00340-CLC-JEM Document 48 Filed 06/16/21 Page 5 of 5 PageID #: 150
